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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                    CRIMINAL 14-0677-11CCC
vs
11) LARRY LIBOY-LOPEZ CEPERO,
a/k/a “Gordo”
(Counts One through Five)
Defendant



                                     ORDER

     Having considered the Report and Recommendation filed on April 4,
2016 (d.e. 527) on a Rule 11 proceeding of defendant [11] Larry Liboy
López-Cepero before U.S. Magistrate-Judge Silvia Carreño-Coll on April 4,
2016, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since April 4, 2016.         The sentencing
hearing is set for July 1, 2016 at 4:15 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 26, 2016.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
